Case 9:17-cv-80633-DMM Document 18 Entered on FLSD Docket 07/17/2017 Page 1 of 1



                           UNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT OF FLORIDA

                         CaseNo.9:17-cv-80633-M IDDLEBROO KS

 SANDY SZYM ONOW ICZ,

         Plaintiff,



 GENESIS FIN ANCIAL
 SOLUTION S,m C.,

         Defendant.
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         THIS CAUSE comes before the Courton the Parties' Joint Stipulation Staying and

 Refening Case to Arbitration (sfstipulation''),filed on July       2017. (DE 17). In the
 Stipulation,the Parties agree to subm ittheir dispute to binding arbitration and requestthatthe

 Courtreferthis matterto arbitration and stay allproceedings in the interim . Accordingly,itis

 hereby ORDERED and ADJUDGED that this matteris REFERRED TO ARBITRATION

 and thatthe case is STAYED in thisCourtpending arbitration. The Partiesshallt5le a status

 reportwithin 15 days of the conclusion of the arbitration proceedings. Further,the Clerk of

 Courtshalladm inistratively CLOSE thisCASE.

         DONEANDORDERED inChambers,atWes a1m Be Florida,thisJzdayofJuly,
 2017.


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                                            UN ITED STA TES D ISTRICT JU D G E
 CC'     A11CounselofRecord
